In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-12      Filed 09/28/07 Entered 09/28/07 16:40:29                                Exhibit E-5
                                                                                                     Pg 1 of 1                                                                   Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT E-5 - LIFT STAY PROCEDURES CLAIMS SUBJECT TO MODIFICATION
CLAIM TO BE MODIFIED         CLAIM AS DOCKETED                                                                                             CLAIM AS MODIFIED

Claim: 6909
                                                   Claim Holder Name and Address
Date Filed: 05/26/2006
Docketed Total:   $0.00                            BALDWIN SANDRA L                          Docketed Total:                         UNL   BALDWIN SANDRA L                      Modified Total:          $45,000.00
Filing Creditor Name and Address:                  2320 WEST JEFFERSON                                                                     2320 WEST JEFFERSON
  BALDWIN SANDRA L                                 TRENTON, MI 48183                                                                       TRENTON, MI 48183
  2320 WEST JEFFERSON
  TRENTON, MI 48183                               Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured              Priority       Unsecured
                                                  05-44481                                                                           UNL   05-44481                                                       $45,000.00

                                                                                                                                     UNL                                                                  $45,000.00

Claim: 465
              11/09/2005                           Claim Holder Name and Address
Date Filed:
Docketed Total:     $100,000.00                    JENNIFER T ASHERBRANNER AND               Docketed Total:                 $100,000.00   JENNIFER T ASHERBRANNER AND           Modified Total:         $225,000.00
Filing Creditor Name and Address:                  RONALD R ASHERBRANNER                                                                   RONALD R ASHERBRANNER
  JENNIFER T ASHERBRANNER                          PO BOX 968                                                                              PO BOX 968
  AND RONALD R ASHERBRANNER                        DECATUR, AL 35602                                                                       DECATUR, AL 35602
  PO BOX 968
  DECATUR, AL 35602                               Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured              Priority       Unsecured
                                                  05-44640                                                                   $100,000.00   05-44640                                                      $225,000.00

                                                                                                                             $100,000.00                                                                 $225,000.00

Claim: 6603
                                                   Claim Holder Name and Address
Date Filed: 05/22/2006
Docketed Total:   $93,000.00                       KELLY R GROCE & KELLY D GROCE             Docketed Total:                  $93,000.00   KELLY R GROCE & KELLY D GROCE         Modified Total:          $35,000.00
Filing Creditor Name and Address:                  STEWART & STEWART                                                                       STEWART & STEWART
  KELLY R GROCE & KELLY D                          931 S RANGELINE RD                                                                      931 S RANGELINE RD
  GROCE                                            CARMEL, IN 46032                                                                        CARMEL, IN 46032
  STEWART & STEWART
  931 S RANGELINE RD                              Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured              Priority       Unsecured
  CARMEL, IN 46032                                05-44481                                                                    $93,000.00   05-44481                                                       $35,000.00

                                                                                                                              $93,000.00                                                                  $35,000.00


                                                                                                                                                Total Claims to be Modified: 3
                                                                                                                                                Total Amount as Docketed:         $193,000.00
                                                                                                                                                Total Amount as Modified:         $305,000.00




*See Exhibit G for a listing of debtor entities by case number.
                                                                                                           Page 1 of 1
*UNL stands for unliquidated
